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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                    )
     ANDREW J. BRIGIDA, et al.,                     )
                                                    )
                  Plaintiff Class,                  )
                                                    )
           vs.                                      )   Case No. 16-cv-2227 (DLF)
                                                    )
     PETER P.M. BUTTIGIEG, Secretary, U.S.          )
     Department of Transportation,                  )
                                                    )
                  Defendant                         )
                                                    )


                            SECOND AMENDED PROTECTIVE ORDER


         Upon consideration of the Joint Motion for Entry of a Second Amended Protective Order by

Plaintiffs Andrew J. Brigida and Matthew L. Douglas-Cook (“Plaintiffs”) and Defendant Peter P.M.

Buttigieg (“Defendant”), the Court finds that such an order will expedite the exchange of discovery

material in the above-captioned matter (the “Litigation”), facilitate the prompt resolution of disputes

over confidentiality, protect students’ rights to privacy, and protect discovery material, including third-

party documents, entitled to be kept confidential. Therefore, pursuant to the Privacy Act, 5 U.S.C. §

552a(b)(11), the Family Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. § 1232g, 34

C.F.R. § 99.31(a)(9), and Fed. R. Civ. P. 26(c), it is hereby ORDERED that the parties’ Joint Motion

for a Second Amended Protective Order is GRANTED, and it is FURTHER ORDERED that the

following provisions shall govern the use and disclosure of documents and information covered by

this Order:

1.       Documents and Information Covered by this Order

         (a)     This Order shall govern the use and disclosure of any document or information in
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connection with this Litigation that constitutes or reflects information derived from:

                   (i)     Records subject to the requirements of the Privacy Act of 1974, 5 U.S.C.

§ 552a, which includes any item, collection, or grouping of information about an individual that is

maintained by an agency, including, but not limited to, his or her education, financial transactions,

medical history, and criminal or employment history that contains his or her name, or the identifying

number, symbol, or other identifying particular assigned to the individual.

                   (ii)    Information concerning the educational, financial, or medical records or

condition of or the personally identifiable information (such as but not limited to social security

number, date of birth, residential addresses, personal email addresses, and personal telephone

numbers) of plaintiffs, any putative class member, other individuals who have attended Collegiate

Training Initiative (“CTI”) schools, or any third-party subpoenaed for evidence in connection with

this Litigation.

                   (iii)   Information provided by a third-party that contains non-public competitively

sensitive commercial information, including, but not limited to, trade secrets or confidential research,

development, or commercial or financial information as defined in Fed. R. Civ. P. 26(c)(1)(G).

                   (iv)    Non-public Federal Aviation Administration (“FAA”) testing materials,

including job analyses used in the development of testing materials, interview scoring guides,

biographical data instruments or questions, and documents from the development and validation of

the Air Traffic Skills Assessment (“ATSA”). This category of information shall not include data or

analysis used by the FAA for the creation or justification of the biographical instrument used by the

FAA during the February 2014 air traffic controller hiring process unless such materials are directly

relevant to the development and validation of the ATSA.

        (b)        Documents or information reasonably determined to be within the scope of paragraph




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1(a)(i)-(iii) by a Producing Party are hereinafter referred to as “Confidential Information.”

Confidential Information shall be marked by the Producing Party prior to production as

“CONFIDENTIAL: SUBJECT TO PROTECTIVE ORDER” or with a similar marking in a way that

brings its attention to a reasonable examiner. Documents or information reasonably determined to be

within the scope of paragraph 1(a)(iv) by a Producing Party are hereinafter referred to as “Highly

Confidential Information.” Highly Confidential Information shall be marked by the Producing Party

prior to production as “HIGHLY CONFIDENTIAL: ATTORNEYS’ EYES ONLY” or with a similar

marking in a way that brings its attention to a reasonable examiner. For any Confidential Information

or Highly Confidential Information, such as computer data, whose medium makes such a marking

impractical, the compact disc case, thumb-drive, or other data media and any accompanying paper or

e-mail cover letter shall be marked in a way that brings its attention to a reasonable examiner.

Designation and marking of Confidential Information or Highly Confidential Information in

accordance with this paragraph shall be deemed effective to bring information contained in such

documents under the protection of this Order unless and until the Court orders otherwise.

       (c)     Except as specified below, all information derived from Confidential Information or

Highly Confidential Information, even if incorporated in another document or compilation or referred

to in testimony, shall remain Confidential Information or Highly Confidential Information and shall

continue to be subject to the requirements of this Order regardless of whether such document or

compilation or testimony has been marked in accordance with paragraph 1(b). With respect to hearing,

deposition, or trial transcripts of testimony or argument, any party asserting that the transcript contains

Confidential Information or Highly Confidential Information shall notify the opposing party within

thirty (30) days after the receipt of the transcript of the specific line and page numbers constituting

Confidential Information or Highly Confidential Information.           However, document summaries,



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statistical compilations, or other summaries of information covered by the Privacy Act or FERPA, that

do not contain information by which specific individuals, including Plaintiffs or putative class

members, can be identified (e.g., by name, social security number, symbol, description, or other form

of personal identification) are not covered by this Protective Order.

2.     Release of Privacy Act or FERPA Protected Information

       (a)     Subject to the requirements of this Order, Defendant is authorized to release to

Plaintiffs, to counsel for the parties, and to the Court in this case, Confidential Information containing

information protected under the Privacy Act of 1974, 5 U.S.C. § 552a, without obtaining prior written

consent of the individuals to whom the records pertain.

       (b)     Defendant is also authorized, pursuant to the terms of this Order, to release to Plaintiffs,

to counsel for the parties, and to the Court in this case, Privacy Act protected records pertaining to

Plaintiffs and putative class members, including employment records or other documents containing

or referring to information pertaining to Plaintiffs and other putative class members.

       (c)     CTI schools are authorized to release to the parties, counsel for the parties, and to the

Court in this case, FERPA protected information pertaining to CTI students and graduates in response

to a subpoena, provided that the CTI school complies with any applicable notification requirement.

3.     Use and Disclosure of Confidential Information

       (a)     Unless otherwise ordered by a court, administrative agency, or other governmental or

regulatory body of competent jurisdiction, or otherwise provided in this Order, Confidential

Information received by a party during the course of this Litigation may be used only in connection

with the prosecution or defense of this Litigation and for no other purpose.

       (b)     Except upon the prior written consent of the Producing Party originally designating

Confidential Information as containing information within the scope of paragraph 1(a)(i)-(iii) of this




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Order, or as otherwise expressly provided in this Order, Confidential Information may be disclosed

only to the following persons:

                 (i)     Counsel who are engaged in the conduct of this Litigation on behalf of the

named parties;

                 (ii)    Partners, associates, and legal assistants of any person described in subsection

3(b)(i), but only to the extent necessary to render professional services in connection with this

Litigation;

                 (iii)   Secretaries and other clerical staff of any person described in subsection

3(b)(i), but only to the extent necessary to render professional services in connection with this

Litigation;

                 (iv)    The Court, its staff, and court officials involved in this Litigation (including

court reporters or persons operating video equipment at depositions), and any mediators and their staff

appointed by the Court or agreed to in writing by the parties in the Litigation;

                 (v)     Named Plaintiffs Andrew J. Brigida and Matthew L. Douglas-Cook;

                 (vi)    Witnesses at deposition or trial to the extent necessary for that purpose;

                 (vii)   Witnesses in preparation for deposition or trial to the extent necessary for that

purpose;

                 (viii) Outside consultants or experts, including other professional and clerical staff at

the outside expert’s or outside consultant’s firm, consulting group, or company, retained for the

purpose of assisting counsel in this Litigation to the extent necessary for that purpose; and

                 (ix)    Third-party contractors engaged in one or more aspects of copying, organizing,

filing, coding, converting, storing, or retrieving data or designing programs for handling data

connected with this Litigation, including the performance of such duties in relation to a computerized




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Litigation support system, but only to the extent necessary to render such services.

       (c)      Before disclosure of any Confidential Information is made to any person described in

subsections 3(b)(v)-(ix) such person shall sign the Confidentiality Undertaking attached hereto as

Exhibit A. Unless otherwise ordered by the Court, in the event that any such person (with the

exception of Plaintiffs or Defendant) described in subsections 3(b)(v)-(ix) refuses to sign the

Confidentiality Undertaking no Confidential Information may be disclosed to such person except with

the prior written consent of the Producing Party and subject to any procedures that the Producing Party

may require to maintain the confidentiality of such Confidential Information.

       (d)      All executed Confidentiality Undertaking forms shall be retained by Counsel for the

party which obtained the Undertaking until such time as this Litigation, including all appeals, is

concluded and shall be available to the other party, or his agents or counsel, upon request to the Court

for good cause shown.

4.     Use and Disclosure of Highly Confidential Information

       (a)      Unless otherwise ordered by a court, administrative agency, or other governmental or

regulatory body of competent jurisdiction, or otherwise provided in this Order, Highly Confidential

Information received by a party during the course of this Litigation may be used only in connection

with the prosecution or defense of this Litigation and for no other purpose.

        (b)     Except upon the prior written consent of the Producing Party originally designating

Highly Confidential Information as containing information within the scope of paragraph 1(a)(iv) of

this Order, or as otherwise expressly provided in this Order, Highly Confidential Information shall

NOT be disclosed to the Named Plaintiffs or Class Members, and may be disclosed only to the

following persons:

                (i)     Persons identified above in paragraph 3(b)(i), (ii), (iii), (iv), (viii), (ix)




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               (ii)    FAA or APT Metrics employees or contractors who were involved with the

development of the relevant testing materials, when serving as a witness at deposition or trial to the

extent necessary for that purpose.

       (c)     Before disclosure of any Highly Confidential Information is made to any person

described in subsection 3(b)(viii) or 3(b)(ix) (as incorporated by paragraph 4(b)(i)), such person shall

sign the Confidentiality Undertaking attached hereto as Exhibit A. Unless otherwise ordered by the

Court, in the event that any such person refuses to sign the Confidentiality Undertaking no Highly

Confidential Information may be disclosed to such person except with the prior written consent of the

Producing Party and subject to any procedures that the Producing Party may require to maintain the

confidentiality of such Highly Confidential Information.

       (d)     All executed Confidentiality Undertaking forms shall be retained by Counsel for the

party which obtained the Undertaking until such time as this Litigation, including all appeals, is

concluded and shall be available to the other party, or his agents or counsel, upon request to the Court

for good cause shown.

5.     Inadvertent Failure to Designate and Inadvertent Disclosure

       (a)     Inadvertent Failure to Designate. A Producing Person may notify the receiving party

that a document or information produced in discovery that should have been designated as

Confidential Information or Highly Confidential Information was inadvertently produced without

being designated as such. Upon receiving such notice from the Producing Party, the party receiving

such notice shall immediately treat the documents and information as if it had been so designated and

shall place the appropriate designation on the document within five (5) business days of receipt of

such notice. No party shall be deemed to have violated this Order if, prior to notification of any later

designation, such documents or information have been disclosed or used in a manner inconsistent with




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the later designation. Once such a designation has been made, however, the relevant documents and

information shall be treated as Confidential Information or Highly Confidential Information in

accordance with this Order.

       (b)     Inadvertent Disclosure. If a receiving party discloses Confidential Information or

Highly Confidential Information to any person not authorized to receive such disclosure the receiving

party must, upon learning that such disclosure has been made: (1) inform the Producing Party that

originally designated the information as being within the scope of paragraph 1(a) of this Order of the

disclosure, including the facts and circumstances of such disclosure; and, (2) request the return of the

Confidential Information or Highly Confidential Information and seek to minimize any further

unauthorized disclosure.

6.     Filing of Confidential Information or Highly Confidential Information

       (a)     Redaction or Filing Under Seal: Those portions of pleadings, motions, affidavits,

briefs, exhibits, and other papers filed with or submitted to the Court that contain Confidential

Information or Highly Confidential Information shall be redacted or filed separately with a motion for

filing under seal in accordance with LCvR 5.1(h). If filed under seal, the filing shall remain under

seal (i) unless otherwise ordered by this Court upon notice to the parties, or (ii) unless the party who

originally designated the information included or used in the filing as being within the scope of

paragraph 1(a) of this order consents in writing to its unsealing, in which case the contents of the filing

shall be unsealed to the extent of such consent.

       (b)     Except at trial, prior to using any Confidential Information or Highly Confidential

Information in open court, counsel shall confer regarding such procedures as are necessary to protect

the nondisclosure of the subject discovery material, including, without limitation, providing the party

or third-party who originally designated the material as within the scope of paragraph 1(a) of this




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Order with an opportunity to move the Court to close the proceedings. Nothing herein, however, shall

prevent a party from opposing any such motion to close the proceedings.

7.     Use of Confidential Information or Highly Confidential Information at Trial

       Nothing in this Order shall be construed as limiting the right of either party to introduce

Confidential Information or Highly Confidential Information into evidence at trial, subject to the Rules

of Evidence and such privacy protections as the presiding Judge may deem appropriate. Either party

may approach the Court before trial to propose a plan for the use of Confidential Information or Highly

Confidential Information at trial. Nothing herein, however, shall prevent party from opposing any

such plan.

8.     Further Requests for Production

       Any person or party receiving Confidential Information or Highly Confidential Information

that receives a request or subpoena for production or disclosure of such information shall promptly

give notice by email to the Producing Party that originally designated such information as being within

the scope of paragraph 1(a) of this Order identifying the information sought and enclosing a copy of

the subpoena or request. Provided that the Producing Party makes a timely motion or other application

for relief from the subpoena or other request in the appropriate forum, the person or party subject to

the subpoena or other request shall not produce or disclose the requested information without consent

of the Producing Party or until ordered by a court of competent jurisdiction.

9.     Order Not to Be Construed as a Waiver

       In addition, each party reserves the right to move to modify the terms of this Order at any time.

By consenting to this Order, no party hereto shall be deemed to have waived its right to seek a

Protective Order with respect to any documents or information, regardless of whether such documents

or information fall within the scope of this Order, and each party reserves the right to oppose any




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motion to modify the terms of the Order. Nothing in this Order shall be construed as a waiver of a

party’s right to challenge by motion a party’s designation of materials as “Confidential Information”

or “Highly Confidential Information” subject to this Protective Order or to challenge a motion to file

a document under seal or move to unseal documents so filed. Nothing in this Order is intended to

constitute an agreement regarding the scope of discovery. This Order does not constitute a ruling on

the question of whether any particular document or category of information is properly discoverable

and does not constitute a ruling on any potential objection to the discoverability, relevance, or

admissibility of any documents or other material sought in discovery, and the parties reserve their right

to object to discovery on any appropriate ground.

10.    Miscellaneous Provisions

       The Parties intend that this Order shall be consistent with the Federal Rules of Civil Procedure

and the Local Rules, except as its terms otherwise provide. For purposes of computing any period of

time under this Order, the provisions of Fed. R. Civ. P. 6 shall apply. Nothing in this Order shall

prevent disclosure as required by law or compelled by order of any court. Nothing in this order shall

be construed to permit the disclosure of classified information or information the disclosure of which

is prohibited by statute.

11.    Termination of Litigation

       The provisions of this Order shall continue to be binding after final termination of this

Litigation. Within forty-five (45) days after final conclusion of all aspects of this Litigation, including

any appeals and/or the administration of any settlement or claims provisions or processes, any party

or person who received Confidential Information or Highly Confidential Information must certify to

the opposing and Producing Party that such Confidential Information or Highly Confidential

Information, (i) has been returned to the Producing Party, or (ii) has been destroyed (other than




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counsel’s copies of exhibits filed under seal with the Court, counsel’s file copies of papers prepared

in connection with this action, e.g., pleadings, court papers and other papers served in this Litigation,

and counsel’s file copies of expert reports, depositions and trial transcripts, and any other documents

and records that are required to be retained by Defendant under the Federal Records Act or any other

applicable federal law or regulation).

12.    Producing Parties’ Reliance on Order

       Production of Confidential Information and Highly Confidential Information will be made in

express reliance upon the terms of this Order.

13.    Consent to Jurisdiction

       Any person or party receiving any Confidential Information or Highly Confidential

Information in accordance with any provision of this Order hereby agrees to subject himself or herself

to the jurisdiction of the Court for the purpose of any proceedings relating to the performance under,

compliance with, or violation of, this Order.

14.    Additional Parties

       The terms of this Order shall be binding upon all current and future parties to the Litigation

and their counsel.

15.    Use of Own Information

       Nothing in this Order shall impose any restriction on the use of or disclosure by a party of its

own information, including the use of or disclosure by Defendant or Defendant’s employees of

information subject to the requirements of the Privacy Act. Nor shall this Order be construed to

prevent a party from disclosing a Confidential Information or Highly Confidential Information to any

person whom the document clearly identifies as an author, addressee, or carbon copy recipient of such

document.




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15.    Binding on Parties

       Execution of this Protective Order by counsel for a party shall constitute a representation by

counsel that they, all persons employed by their firm who have access to Confidential Information or

Highly Confidential Information, and the party or parties they represent will abide by the terms of this

Protective Order and will subject themselves to the jurisdiction of this Court for purposes of

enforcement and disciplinary action.




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   AGREED TO BY:

 /s/ Zhonette M. Brown                       BRIAN M. BOYNTON
 Zhonette M. Brown, D.C. Bar # 463407        Principal Deputy Assistant Attorney General
 William E. Trachman, D.C. Bar # 502500
 David C. McDonald, D.C. Bar # CO0079        CARLOTTA P. WELLS
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 Facsimile: (303) 292-1980                   Senior Trial Counsel
 Email: zhonette@mslegal.org                 MICHAEL DREZNER (VA Bar No. 83836)
        brian@mslegal.org                    HILARIE SNYDER (D.C. Bar No. 464837)
                                             Trial Attorneys
 Counsel for Plaintiff Class                 U.S. Department of Justice
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 (602) 523-9000 (facsimile)
 mpearson@azlaw.com

 Counsel for Plaintiff Class



ORDERED this 13 day of March, 2023.




                                          UNITED STATES DISTRICT JUDGE




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                  )
  ANDREW J. BRIGIDA, et al.,                      )
                                                  )
                Plaintiff Class,                  )
                                                  )
         vs.                                      )   Case No. 16-cv-2227 (DLF)
                                                  )
  PETER P.M. BUTTIGIEG, Secretary, U.S.           )
  Department of Transportation,                   )
                                                  )
                Defendant                         )
                                                  )



                               CONFIDENTIALITY UNDERTAKING

       I hereby certify that: (i) I have read the Amended Protective Order (the “Order”) that has been

entered by the Court in the above-captioned matter, and I understand its terms; (ii) I understand that

Confidential Information or Highly Confidential Information subject to the terms of the Order is being

provided to me pursuant to the terms of the Order; (iii) I agree to be fully bound by the provisions of

the Order, including its provisions restricting disclosure of Confidential Information or Highly

Confidential Information under the Order and limiting the use of such material; (iv) I hereby submit

to the jurisdiction of the United States District Court for the District of Columbia for purposes of

enforcement of the Order; and (v) I understand that violation of the Order may be punishable by

contempt of Court and may be subject to such further relief as the Court may order.




   Dated:                                               Signature:


                                                        Print name:
